Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page1of9

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

In re: Case No. 16-22214-LMl
Chapter 7
Jorge E. Ramirez,

Debtor.

 

JOINT MOTION TO COMPROMISE CONTROVERSY

Any interested party who fails to file and serve a written response to this
Motion within 21 days after the date of service stated in this Motion shall,
pursuant to Local Rule 9013-1(D), be deemed to have consented to the
entry of an order in the form attached to this Motion. Any scheduled
hearing may then be canceled.

Come now, Drew M. Dillworth, as Chapter 7 Trustee of the Bankruptcy
Estate of Jorge E. Ramirez (hereinafter “Trustee”) and Jorge E. Ramirez
(hereinafter “Debtor”), hereby file and serve this instant Joint Motion To
Compromise Controversy, and state the following in support thereof:

1. Debtor filed a voluntary petition in bankruptcy, under Chapter 7 of Title
11 of the United States Code, and an order for relief was entered on September
1 2016.
2. Drew M. Dillworth is the duly-appointed and permanent Trustee in these
proceedings.
3. The Trustee has conducted discovery, formal and informal, and
otherwise has concluded his due diligence.
4. The Debtor has also listed and disclosed the following property interests
in his Bankruptcy Schedules:
a. Real Property located at 5471 SW 144" Street, Miami,
FL 33175 (the “Homestead”), valued at $243,223.00
(with liens totaling $191,452.54), and declared the

Homestead as exempt on Schedule “C”;
Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page 2 of9

b. 2011 Chevrolet Traverse Utility 4D Sienna (“SUV”)
valued at $12,851.24.00 (with liens totaling $8,605.02),
and $4,246.22 of which was claimed as exempt;

C. 2007 Mercedes Benz (“Sedan’) valued at $15,835.03
(with liens totaling $16,930.36);

d. 1997 Chevrolet Astro Van (“Van”) valued at $800.00,
and claimed as exempt.

e. Firearms Barrett (“Barret”) valued at $150.00;

Bank of America Business Checking Account #2437
(the “Business Checking”) valued at $66.48, and
claimed as exempt.

g. Bank of America Checking Account #6765 (the “BOA
Checking”) valued at $51.94, and claimed as exempt.

h. Ocean Bank Checking Account #9706 (“Ocean Bank

| Checking”) valued at $971.13 and $485.572 of which
was claimed as exempt;

i. Bank of America Savings Account #9271 (the
“Savings”) valued at $0.00;

j. Household Goods & Furnishings (“HHG”) valued at
$7,420.00, and claimed as exempt;

K. Miscellaneous Clothing (“Clothing”) valued at $60.00,
and claimed as exempt;

I. Miscellaneous Jewelry (“Jewelry”) valued at $350.00
and $341.98 of which was claimed as exempt;

m. Cash (the “Cash”) valued at $20.00, and claimed as
exempt;

n. Business Equipment and Tools (“Tools”) valued at
$2,000.00 and $511.54 of which was claimed as
exempt;

5. Debtor's total listed unsecured indebtedness on Schedule F is
$128,065.71. [See DE#1].
Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page 3of9

6. Debtor and Trustee have negotiated in good faith and have agreed to

the following terms of this Agreement to resolve their differences.

7. More specifically the Debtor have offered, (and the Trustee has

accepted, subject to approval by this Court), to resolve their differences by

agreeing to pay the Estate/Trustee the sum total of $30,000.00 [the “Settlement

Sum’] in United States Currency under the terms and conditions set forth herein,

and as otherwise approved and directed by the Court, but which would include:
a. Payment to the Trustee of the total sum of $30,000.00 [the
“Settlement Sum’] in separate payments, but totaling the sum of
$30,000.00 on or before February 1! 2019, as structured herein-

below;

b. Specifically, the Settlement Sum shall be paid on or before the

time periods indicated herein-below, but no later than, and in

sums no less than, as follows:

first initial payment of $7, 000.00 on or before October
1% 2017.

equal monthly payments of no less than $1,533.33
per month commencing on or before December 1%,
2017 and continuing monthly thereafter on or before
the 1°' day of each following month through January
1 2019: and, a final payment in the amount of
$1,533.38 on or before February 1°, 2019.

All payments for the above Settlement Sum shall be
made payable to “Drew_M. Dillworth as Trustee’,
and delivered on or before the due date(s) (with time
being of the essence for all payments hereunder) to
James B. Miller, Esq., JAMES B. MILLER, P.A., 19
West Fiagler Street, Suite 416, Miami, FL 33130; and,
the mailbox rule shall not apply to any payments
hereunder, with time being of the essence for each

payment set forth above.
Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page 4of9

8. In exchange for the above-referenced consideration from Debtor to
Trustee, and timely and full compliance with this Agreement by the Debtor, the
Trustee, agrees to: i) allow Debtor's discharge (subject to the default provisions
herein); ii) allow Debtor’s claimed exemptions; and, iii) abandon any interest in
the equity of any non-exempt assets duly-scheduled on Schedules A and B of
the Debtor’s Schedules [DE#1].

c. Any asset not specifically resolved, transferred, or abandoned, as
set forth in this Agreement is not resolved, transferred, or
abandoned by the Trustee. The resolution, transfer or
abandonment is subject to payment in full hereunder and the
default provisions set forth below.

d. Debtor waives any and all claims against the Trustee/Estate.

9. Default Provisions: Should Debtor default in failing to timely remit any or
all of the Settlement Sum as set forth above, Debtor shall have five (5) business
days’ notice of default (“Cure Period”) sent directly to his counsel (Jose Blanco,
Esq. via email at jolanco@bankruptcy.com), and absent curing the default within
said Cure Period, Debtor agrees herein that: i) Debtor waives any and all
claimed exemptions, other than his current Homestead Exemption, and the
Bankruptcy Court shall enter an order at the request of the Trustee (on an ex
parte basis) finding that the claimed exemptions are disallowed in their entirety,
that same are property of the Bankruptcy Estate, and directing immediate
surrender and turnover of same to the Trustee; ii) Debtor shall immediately
surrender and turnover his non-exempt assets to the Trustee; iii) all payments
made hereunder shall not be applied to any indebtedness owed relating to the
non-exempt assets as same shall be deemed payment for the time value of
money to the Trustee; and, iv) the Trustee shall be entitled to a judgment/order
denying/revoking the Debtor’s bankruptcy discharge forthwith (after notice and
hearing) and Debtor shall not defend (directly or indirectly) said action to
deny/revoke his discharge — the Trustee may file an action to deny/revoke or
otherwise simply file a motion to revoke the Debtor's discharge, at the Trustee’s

option, and Debtor consents to motion practice for such purpose.
Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page5of9

10. Jurisdiction: The Bankruptcy Court in Case No. 16-22214-LMI shall
continue to retain sole and exclusive jurisdiction over the parties hereto, the
terms of this Agreement, any Orders arising therefrom, and any and all disputes
and issues arising out of or relating to this Agreement and any orders relating
thereto.

11.ABATEMENT OF ENTRY OF ORDER OF DISCHARGE: NO ORDER
OF DISCHARGE SHALL ISSUE OR OTHERWISE BE ENTERED IN FAVOR OF
THE DEBTORS UNLESS AND UNTIL THE SETTLEMENT SUM HAS BEEN
TIMELY REMITTED IN FULL TO THE TRUSTEE; AND, ONLY AFTER A
NOTICE OF COMPLIANCE HAS BEEN FILED BY THE TRUSTEE INDICATING
TIMELY PAYMENT THEREOF.

12.Continued Cooperation: Debtor shall also continue to cooperate with

 

the Trustee to collect assets for the benefit of the estate and to provide whatever
other assistance is requested by the Trustee, including providing information
and/or assistance relating to objections to claims and recovery of assets.

13.Approval of a settlement in a bankruptcy proceeding is within the sound
discretion of the Court, and will not be disturbed or modified on appeal unless
approval or disapproval is an abuse of discretion. See, /n re Arrow Air, Inc., 85
B.R. 886, 891 (Bankr. S.D. Fla. 1988). The test for the Court to consider whether
or not to approve a settlement or compromise is whether the proposed
settlement/compromise “falls below the lowest point in the range of
reasonableness.” See, id. at 891.

14.The Trustee believes, under his business judgment that this Settlement
Agreement is in the best interests of the Estate and that it falls above the lowest
point in the range of reasonableness for approval purposes, and the Trustee
requests entry of an order approving same in its entirety.

15.The proposed Settlement is contingent upon the Court's approval. A
Bankruptcy Judge may approve a settlement in a liquidation proceeding if the
settlement is in the estate's best interest. In Re American Reserve Corporation,
841 F.2d 159, 161 (7" Cir. 1987); In Re Monoray Group, 73 B.R. 630, 635
Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page 6 of9

(Bankr. M.D. Fla. 1987). The approval of settlement is within the discretion of the
Court. In Re Arrow, 85 B.R. 886, 890-891 (Bankr. S.D. Fla. 1988).

16.When a bankruptcy court decides whether to approve or disapprove a
proposed settlement, it must consider:

(a) The probability of success in the litigation; (b) the
difficulties, if any, to be encountered in the matter of
collection; (c) the complexity of the litigation involved,
and the expense, inconvenience and _ delay
necessarily attending it; and (d) the paramount
interest of the creditors and a proper deference to
their reasonable views in the premises.

In Re Justice Oaks II, Ltd., 898 F.2d, cert. denied, 498 U.S. 959 (1990).

Application Of Factors
|. The Probability of Success of the Litigation
In the instant matter, the Trustee would likely prevail on an objection to
exemptions and believes he would have at least a 50% chance of prevailing as to
an objection to the Debtor’s discharge, if Debtor defaults after court-approval.

However, Debtor disputes same.

ll. The Difficulties, if any, to be Encountered in the Matter of Collection.
Collection efforts could be problematic as the reality is that the case
becomes one not of collection but of cost benefit for the costs of litigating

incurred by the Estate.
As such it is believed that the case could become administratively

insolvent should the Trustee further pursue any litigation.

ll. The Complexity of the Litigation Involved, and the Expense,
inconvenience and Delay Necessarily Attending It.

The existence of this factor in this case is self-evident. The Trustee would
have to carry the burden on each and every element of his case and also have to
incur substantial fees and costs in litigating the denial of the Debtor's discharge

and objection to the claimed exemptions.
Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page 7 of9

IV. The Paramount Interest of Creditors and a Proper Deference to Their
Reasonable View in the Premises.

The Settlement with the Debtor would result in a modest settlement
($30,000.00) for the benefit of the creditors of this Estate. This amount is within
the range of reasonable expectation of the recovery the Trustee believes he
could obtain for purposes of liquidating non-exempt assets and recovering
alleged fraudulent transfers. Administrative costs would be consumed for the
potential of any recovery against the Debtor in the Adversary Proceeding and
certainly would leave an administratively insolvent estate.

Quite simply, the Settlement proceeds in this matter represent a
reasonable return on what the Trustee perceives to be a valid basis for recovery
of potential assets.

The Trustee, in the sound exercise of his business judgment, believes that
the Settlement is fair and reasonable and in the best interests of the Estate. As
such, the Trustee believes that the Settlement Agreement should be approved by
the Court.

WHEREFORE, the Trustee and Debtor request entry of an order,
substantially in the form attached hereto, approving this Settlement and for such
other and further relief this Court deems equitable and just.

| HEREBY CERTIFY that true and correct copy of the foregoing Motion

2) st

with the proposed order were served via United States mail this _day of

 

August, 2017 upon those named on the attached service list; and via CM/ECF in
pdf format by the Court on those named below simultaneously with the filing of
this Motion.

| HEREBY CERTIFY that | am admitted to the Bar for the District Court in and for the Southern
District of Florida and arm in compliance with the additional qualifications to practice before this Court as set
forth in Local Rule 2090-1(A).
Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page 8 of 9

Dated: August _ 24 , 2017.

Trustee's counsel

19 West Flagler Street, Suite 416
Miami, FL 33130

Tel. No. (305) 374-0200

Fax. No. (305) 374-0250

Email: jbm@title11law.com

/s/ James B. Miller
JAMES B. MILLER, ESQ.
Fla. Bar No. 0009164

THE PARTIES (DEBTOR and TRUSTEE) HAVE READ THE
FOREGOING AND AGREE TO THE TERMS AND STATEMENTS MADE
THEREIN, AND HAVE HAD THE OPPORTUNITY TO HAVE THIS MATTER
REVIEWED BY LEGAL COUNSEL PRIOR TO EXECUTING SAME.

 

 

/ Pa aa
JORG Spas BREMEN. DILLWORTH 4,
DEBTOR TRUSTEE ee

AGREED AS TO FORM BY COUNSEL:

a *\ r
\ 2
/ i . rr
i / A . I _— ae { yf
YU ra \ f
i

  

 

 

/AOSE BL JAMES‘8..MILCER, ESQ.
“ DEBTOR'S COUNSEL TRUSfEE’S COUNSEL
iL“
Case 16-22214-LMI Doc 67 _ Filed 08/31/17 Page 9 of9

CM/ECF Service List:

Drew M Dillworth
ddiiworthi@swmwas.com, ddilworth@ecf.epiasystems com marocha@steamnsweaver.c
om

 

Taji S Foreman on behalf of Creditor JPMorgan Chase Bank, N.A.
tloreman@kahaneancassociates.com, bkeci@kahaneancassociates.com

James B Miller on behalf of Trustee Drew M Dillworth
bkocmiami mail.com

Office of the US Trustee
USTPReaion21.MM ECF @usdol.gov

 

Robert Sanchez, Esq on behalf of Debtor Jorge E. Ramirez
court@bankruptcyclinic.com, courlECFmail@gmail.com
